                  Case 23-11240-TMH            Doc 336        Filed 10/24/23        Page 1 of 7




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 11

    AMERIFIRST FINANCIAL, INC. et al.,1                      Case No. 23-11240 (TMH)

                            Debtors.                         (Jointly Administered)

                                                             Re: Docket Nos. 21, 116, 118, 256 & 310

    MOTION OF RCP CREDIT OPPORTUNITIES FUND LOAN SPV (FUND III), L.P. AND
     RCP CUSTOMIZED CREDIT FUND (FUND IV-A), L.P. FOR LEAVE TO FILE AND
    SERVE A LATE REPLY IN FURTHER SUPPORT OF THE DEBTORS’ DIP MOTION

             RCP Credit Opportunities Fund Loan SPV (Fund III), L.P. and RCP Customized Credit

Fund (Fund IV-A), L.P. (collectively, “RCP”), by and through their undersigned counsel in these

chapter 11 cases, hereby file this motion for leave (the “Motion for Leave”), pursuant to section

105(a) of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy Code”),

and Rule 9006-1(d) of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”), seeking entry of an order

substantially in the form attached hereto as Exhibit A authorizing RCP to file and serve a reply

(“DIP Reply”) beyond the deadline set forth in Local Rule 9006-1(d) in further support of the

Debtors’ Motion for Entry of a Final Order (I) Authorizing Debtors (A) to Obtain Postpetition

Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to Prepetition

Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and (V) Granting

Related Relief [D.I. 21] (the “DIP Motion”). In support of the Motion for Leave, RCP respectfully

represents as follows:



1
  The Debtors and the last four digits of their respective taxpayer identification numbers include: Phoenix 1040 LLC
(2550) and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 1550 McKelleps Road, Suite 117,
Mesa, AZ 85203.



IMPAC 11127839v.4
                Case 23-11240-TMH            Doc 336     Filed 10/24/23     Page 2 of 7




                                     JURISDICTION AND VENUE

        1.          The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction to consider this Motion for Leave under 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated as of February 29, 2012. This is a core proceeding under 28 U.S.C. § 157(b). Venue of

these cases and this Motion for Leave in this District is proper under 28 U.S.C. §§ 1408 and 1409.

        2.          Pursuant to Local Rule 9013-1(f), RCP confirms its consent to the entry of a final

order or judgment by the Court with respect to this Motion for Leave if it is determined that this

Court, absent consent of the parties, cannot enter a final order or judgment consistent with Article

III of the United States Constitution.

        3.          The legal predicates for the relief requested herein are section 105(a) of the

Bankruptcy Code and Local Rule 9006-1(d).

                                            BACKGROUND

        4.          On August 24, 2023 (the “Petition Date”), the Debtors each commenced a

bankruptcy case by filing a petition for relief under chapter 11 of the Bankruptcy Code.

        5.          The Debtors are authorized to continue to operate their businesses and manage their

properties as debtors and debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code.

        6.          The Debtors filed the DIP Motion on August 29, 2023.

        7.          On August 31, 2023, the Court entered the Interim Order (I) Authorizing Debtors

(A) to Obtain Postpetition Financing and (B) Utilize Cash Collateral, (II) Granting Adequate

Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final

Hearing, and (V) Granting Related Relief [D.I. 61] (the “Interim DIP Order”).


                                                     2
IMPAC 11127839v.4
                Case 23-11240-TMH          Doc 336     Filed 10/24/23   Page 3 of 7




        8.          On September 15, 2023, an official committee of unsecured creditors

(the “Committee”) was appointed in these chapter 11 cases. [D.I. 122]. No trustee or examiner

has been appointed in the chapter 11 cases.

        9.          The Interim DIP Order set the final hearing on the DIP Motion for

September 18, 2023, which was continued to October 26, 2023 at 10:00 a.m. (prevailing Eastern

Time) (the “Final DIP Hearing”).

        10.         On August 30, 2023, Eric Bowlby filed the Preliminary Objection of Eric Bowlby

to Debtors’ First Day Motions [D.I. 44], which was supplemented on September 13, 2023 by the

Supplemental Objection of Eric Bowlby to Debtors’ Motion for Entry of a Final Order

(I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral,

(II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay,

(IV) Scheduling a Final Hearing, and (V) Granting Related Relief [D.I. 116] (the “Bowlby

Objection”).

        11.         On October 13, 2023, the Committee filed its Preliminary Objection of Official

Committee of Unsecured Creditors to Motion of the Debtors for Interim and Final Orders

(I) Authorizing Debtors (A) to Obtain Postpetition Financing and (B) to Utilize Cash Collateral,

(II) Granting Adequate Protection to Prepetition Lenders, (III) Modifying the Automatic Stay,

(IV) Scheduling a Final Hearing, and (V) Granting Related Relief [D.I. 256].

        12.         The Court held a discovery conference on October 16, 2023 at which the parties

established a discovery schedule. Based on this schedule, on October 22, 2023, the Committee

filed the Amended and Restated Objection of the Official Committee of Unsecured Creditors to

Motion of the Debtors for Interim and Final Orders (I) Authorizing Debtors (A) to Obtain

Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate Protection to


                                                   3
IMPAC 11127839v.4
                Case 23-11240-TMH            Doc 336     Filed 10/24/23     Page 4 of 7




Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and

(V) Granting Related Relief [D.I. 310] (the “Committee Objection”).

        13.         Other objections to the final relief requested in the DIP Motion include the United

States Trustee’s Objection to Debtors’ Motion for Final Order (I) Authorizing Debtors (A) to

Obtain Postpetition Financing and (B) to Utilize Cash Collateral, (II) Granting Adequate

Protection to Prepetition Lenders, (III) Modifying the Automatic Stay, (IV) Scheduling a Final

Hearing, and (V) Granting Related Relief [D.I. 254] as well as additional informal comments from

certain parties.

                                         RELIEF REQUESTED

        14.         By this Motion for Leave, RCP respectfully requests authority, pursuant to Local

Rule 9006-1(d), to file and serve a late DIP Reply to allow RCP to fully and comprehensively

respond to the issues raised in these objections, particularly the Bowlby Objection and the

Committee Objection.

                                          BASIS FOR RELIEF

        15.         Pursuant to Local Rule 9006-1(d), “[r]eply papers . . . may be filed by 4:00 p.m.

prevailing Eastern Time the day prior to the deadline for filing the agenda.” See Del. Bankr. L.R.

9006-1(d). Pursuant to the Local Rules, the agenda for the Final DIP Hearing was due to be filed,

and was filed, by 12:00 p.m. (ET) on October 24, 2023. Pursuant to Local Rule 9006-1(d), the

deadline for parties to file reply papers in connection with the final relief requested in the DIP

Motion was October 23, 2023, at 4:00 p.m. (ET) (the “Reply Deadline”). Accordingly, absent the

relief sought in this Motion for Leave, the DIP Reply would have been due by the Reply Deadline.

        16.         Here, sufficient cause exists to allow RCP to file the late DIP Reply. As described

above, discovery is ongoing and, due to the established discovery schedule, the Committee filed


                                                     4
IMPAC 11127839v.4
                Case 23-11240-TMH            Doc 336     Filed 10/24/23     Page 5 of 7




an amended and restated Committee Objection on October 22, 2023. As a result, the parties agreed

to provide RCP with additional time to adequately review and respond to the Committee Objection.

Absent an extension, RCP would be prejudiced in their ability to sufficiently respond to the

Committee Objection as it was impracticable for RCP to file the DIP Reply by the Reply Deadline.

        17.         Although the information set forth in the DIP Reply will be presented at the Final

DIP Hearing, review of the DIP Reply prior to the Final DIP Hearing will aid the Court in its

review and consideration of the relief requested in the DIP Motion. The DIP Reply addresses the

issues raised in the Committee Objection and Bowlby Objection and will provide all parties with

an opportunity to review RCP’s arguments prior to the Final DIP Hearing.

        18.         Absent leave of Court to file and serve the DIP Reply, however, RCP will be unable

to submit an appropriate written response to the Committee Objection and Bowlby. RCP, as a

result, believe that the DIP Reply will (i) help inform the Court of disputed issues set for

consideration at the Final DIP Hearing, (ii) aid in the Court’s preparation for the Final DIP Hearing,

and (iii) streamline the Final DIP Hearing.

        19.         For the foregoing reasons, RCP believes there is sufficient cause to grant leave to

file the DIP Reply.

                                                NOTICE

        20.         Notice of this Motion for Leave and any order entered hereon will be provided to:

(i) the Debtors; (ii) the Office of the United States Trustee for the District of Delaware, (iii) counsel

to the Committee, (iv) counsel to Eric Bowlby, (v) the Office of the United States Attorney for the

District of Delaware, and (vi) any party that has requested notice pursuant to Bankruptcy Rule

2002.




                                                     5
IMPAC 11127839v.4
                Case 23-11240-TMH           Doc 336     Filed 10/24/23    Page 6 of 7




                                        NO PRIOR REQUEST

        21.         No previous request for the relief requested herein has been made to this or any

other court.

        WHEREFORE, for the reasons set forth above, RCP respectfully request that the Court

enter the Proposed Order, substantially in the form attached hereto as Exhibit A, granting the relief

requested herein and awarding such other and further relief as the Court deems just and proper.




                              [Remainder of Page Intentionally Left Blank]




                                                    6
IMPAC 11127839v.4
                Case 23-11240-TMH     Doc 336     Filed 10/24/23    Page 7 of 7




 Dated: October 24, 2023            POTTER ANDERSON & CORROON LLP
        Wilmington, Delaware
                                    /s/ Brett M. Haywood
                                    Christopher M. Samis (No. 4909)
                                    L. Katherine Good (No. 5101)
                                    Brett M. Haywood (No. 6166)
                                    Katelin A. Morales (No. 6683)
                                    1313 N. Market Street, 6th Floor
                                    Wilmington, DE 19801-6108
                                    Telephone: (302) 984-6000
                                    Facsimile: (302) 658-1192
                                    Email: csamis@potteranderson.com
                                            kgood@potteranderson.com
                                            bhaywood@potteranderson.com
                                            kmorales@potteranderson.com
                                    -and-
                                    QUINN EMANUEL URQUHART & SULLIVAN, LLP
                                    Manisha M. Sheth (admitted pro hac vice)
                                    Patricia B. Tomasco (admitted pro hac vice)
                                    51 Madison Avenue, 22nd Floor
                                    New York, NY 10010
                                    Telephone: (212) 849-7000
                                    Facsimile: (212) 849-7100
                                    Email: manishasheth@quinnemanuel.com
                                            pattytomasco@quinnemanuel.com
                                    -and-
                                    Bennett Murphy (admitted pro hac vice)
                                    Razmig Izakelian (admitted pro hac vice)
                                    865 S. Figueroa St., 10th Floor
                                    Los Angeles, CA 90017
                                    Telephone: (213) 443-3000
                                    Facsimile: (213) 443-3100
                                    Email: bennettmurphy@quinnemanuel.com
                                           razmigizakelian@quinnemanuel.com
                                    -and-
                                    Brittany J. Nelson (admitted pro hac vice)
                                    1300 I Street NW, Suite 900
                                    Washington, D.C. 20005
                                    Telephone: (202) 538-8000
                                    Facsimile: (202) 538-8100
                                    Email: brittanynelson@quinnemanuel.com
                                    Counsel to RCP Credit Opportunities Fund Loan SPV (Fund III),
                                    L.P. and RCP Customized Credit Fund (Fund-IV-A), L.P.
                                              7
IMPAC 11127839v.4
